Case: 1:19-cr-00805 Document #: 1 Filed: 10/24/19 Page 1 of 13 PagelD #:1

E oe LED Complaint
G. BRUTON

MAS
un Ss. S ISTRICT COURT

UNITED STATES OF AMERICA
Vv.

LUIS ARROYO

AUSA Christopher J. Stetler (812) 353-7602
AUSA James P. Durkin (312) 3538-6630

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF ILLINOIS
EASTERN DIVISION

19CR 805

CASE NUMBER:

UNDER SEAL
MAGISTRATE JUDGE VALDEZ

CRIMINAL COMPLAINT

I, the complainant in this case, state that the following is true to the best of my knowledge

and belief.

From in or around August 2019 and continuing until in or around October 2019, at Highland

Park, in the Northern District of Illinois, Eastern Division, and elsewhere, the defendant violated:

Code Section

Title 18, United States Code, Section
666(a)(2)

Offense Description

Corruptly offering and agreeing to give anything
of value to any person, with intent to influence or
reward an agent of the State of Illinois, a state
that has received benefits in excess of $10,000
under a federal program in 2019, in connection
with any business, transaction, or series of
transactions of the State of Illinois involving
anything of value of $5,000 or more

This criminal complaint is based upon these facts:

X_ Continued on the attached sheet.

Sworn to before me and signed in my presence.

Date: October 24, 2019

City and state: Chicago, Illinois

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GURTIS A. HEIDE
Special Agent
Federal Bureau of Investigation

 

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Judge's signalwre

MARIA VALDEZ, U.S. Magistrate Judge
Printed name and Title
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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF ILLINOIS
AFFIDAVIT

I, CURTIS A. HEIDE, being duly sworn, state as follows:
I, Background

dL. Tama Special Agent with the Federal Bureau of Investigation and have
been so employed since approximately May 2006. I am currently assigned to a public
corruption squad of the FBI, and my responsibilities include the investigation of
white-collar crimes, including bribery, extortion, mail fraud, and wire fraud. I have
participated in the analysis and targeting of phone numbers used in furtherance of
public-corruption and fraud offenses, and I have participated in the execution of
multiple federal search warrants.

2. I have been involved in the investigation of LUIS ARROYO concerning
his involvement in violations of federal law, including Title 18, United States Code,
Section 666(a)(2) (the “Subject Offense”), which prohibits corruptly giving or
offering anything of value to any person with intent to influence or reward an agent
of a State government in connection with any business, transaction, or series of
transactions of the government involving anything of value of $5,000 or more.

3. The information contained in this affidavit is based on my participation
in this investigation, consensually-recorded conversations and meetings, information
provided by a cooperating witness, the results of physical surveillance, review of

records obtained from various parties, discussions with other law enforcement agents
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with knowledge of this investigation, information provided to me by other law
enforcement agents with knowledge of this investigation, my training and experience,
and the training and experience of other law enforcement officers with whom I have
consulted. Since this affidavit is being submitted for the limited purpose of
establishing probable cause as set forth herein, I have not included each and every
fact known to me concerning this investigation.

4. This affidavit is submitted in support of a criminal complaint charging
ARROYO with committing the Subject Offense.

5. Reference is made to lawfully recorded conversations in this affidavit.
In certain instances, these conversations are summarized and placed in context. My
understanding of these conversations (which often appears in brackets) is aided by
the content and context of the conversations, my familiarity with the facts and
circumstances of this investigation, my experience as a law enforcement officer, the
experience of other law enforcement agents and officers in this investigation, my
discussions with other law enforcement officers, and other evidence developed during
the course of this investigation. The times listed for recorded conversations are
approximate. Further, summaries of the recorded conversations herein do not
represent finalized transcripts and may not represent the entire conversation that
occurred between the identified individuals.
Il. Summary of Probable Cause

6. There is probable cause to believe that LUIS ARROYO, the Illinois State

Representative for the Third District, has committed the Subject Offense. On or
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about August 2, 2019, ARROYO offered CW-1, an Illinois State Senator, $2,500 per
month in return for CW-1’s support of sweepstakes-related legislation in the Illinois
Senate that would benefit Individual A. On or about August 22, 2019, ARROYO
provided CW-1 with a check for $2,500 as an initial payment, with the expectation of
providing additional monthly $2,500 payments for six months to a year. This check
was made payable to a nominee of CW-1 for the purpose of concealing the illicit
payment to CW-1.

Ill. Facts Establishing Probable Cause

A. Background

T According to publicly available information, LUIS ARROYO has been
the Illinois State Representative for the Third District since 2006. He is currently
the Assistant Majority Leader in the Illinois House of Representatives. According to
publicly available information, including information obtained from the website
www.usaspending.gov, the State of Illinois has received benefits under federal
programs in excess of $10,000 in 2019.

8. According to information obtained from the Illinois Secretary of State’s
website, LUIS ARROYO is a manager of Spartacus 3, LLC (“Spartacus”). According
to information obtained from the City of Chicago’s website, LUIS ARROYO, with a
listed employer of Spartacus, is a registered lobbyist with the City of Chicago.

9. I have obtained a copy of a lobbying agreement dated August 18, 2018,
between lobbyist Spartacus and client Company B from the website maintained by

the City of Chicago. This agreement bears what appears to be ARROYO’s signature.
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The agreement provides, “Client retains the Lobbyist to represent its interest in
business development, marketing, and other governmental matters before aldermen,
legislative bodies, administrative bodies, boards and commissions within the City of
Chicago to achieve the Client’s goals .... In consideration for the services to be
rendered under this Agreement, Client shall pay Lobbyist Two-Thousand Five-
Hundred Dollars ($2,500.00) every month during the term of this Agreement.”
According to the agreement, Spartacus was retained by Company B to lobby the
Chicago City Council in connection with legislative action on a sweepstakes
ordinance.

10. According to information obtained from the Illinois Secretary of State’s
website, Individual A is the manager of Company A.

11. According to publicly available information, Cooperating Witness 1

(“CW-1”) is an Illinois State Senator.!

 

1 CW-1 became a source for the FBI in 2016. CW-1 was admonished multiple times
regarding CW-1’s responsibility to report CW-1’s participation in any unauthorized
illegal activity. CW-1 was closed as an FBI source on or about November 3, 2016,
after the FBI obtained information that CW-1 had submitted false income tax returns
to the Internal Revenue Service. CW-1 had not disclosed that unauthorized illegal
activity to the FBI. When subsequently confronted by law enforcement, CW-1
admitted to submitting false income tax returns. According to a law enforcement
database, CW-1 has no criminal convictions. CW-1 expects to be charged with an
offense relating to his false income tax returns and is cooperating with the hope that
CW-1’s cooperation will lead to a reduced sentence in connection with any charge
brought against CW-1. No promises have been given to CW-1 regarding what, if any,
benefits CW-1 will receive in return for CW-1’s cooperation. The information provided
by CW-1 as set forth in this affidavit is corroborated by, among other things, the
consensual recordings made by CW-1.
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B. ARROYO Corruptly Offers to Pay. CW-1 in Return for CW-1’s
Support of Sweepstakes Legislation.

12. CW-1has advised law enforcement that ARROYO had approached CW-
1 in the Spring 2019 legislative session coneorning the passage of sweepstakes-
related legislation.

18. CW-1 has advised law enforcement that ARROYO has used telephone
number (312) XXX-3444 (“Target Phone 1”) to communicate with CW-1.2 CW-1 has
also provided law enforcement with copies of electronic communications between CW-
l’s cellular telephone (“CW-1 Phone”) and Target Phone 1. On or about July 30,
2019, at approximately 10:19 a.m., CW-1 received an incoming electronic message on
CW-1 Phone from Target Phone 1, used by ARROYO. The message said, “[CW-1],
Luis Arroyo call me back.”

14. Onor about August 1, 2019, at approximately 1:37 p.m., CW-1 received
two incoming electronic messages on CW-1 Phone from Target Phone 1, used by
ARROYO. The messages said, “Let’s meet at [a restaurant in Highland Park, Illinois]

. 11:00 AM.”
15. Onor about August 2, 2019, at approximately 10:45 a.m., CW-1 hada

consensually-recorded meeting with ARROYO, Individual A, and Individual A’s

 

2 I further believe LUIS ARROYO is the user of Target Phone 1 based on, among other
things, the following: (1) ARROYO self-identified himself as the user of Target
Phone 1 in the electronic message referenced later in this paragraph; (2) the
comparison of ARROYO’s voice as captured in publicly available internet videos to the
voice of the user of Target Phone 1; (8) ARROYO subsequently attended a meeting
which was arranged through the use of Target Phone 1; and (4) accor ding to phone
records, Target Phone 1 is subscribed to ARROYO.
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associate at the restaurant located in Highland Park, Illinois identified by ARROYO
the day before. During the meeting, ARROYO corruptly offered to make periodic
payments to CW-1 in return for CW-1’s support of sweepstakes legislation.
Specifically, ARROYO said, “Tm gonna do a trailer bill for the game, for the
sweepstakes. I talked to [a high-ranking state official]. I talked to a lot of people.”
[Based on my training and experience, and discussions with witnesses and fellow law
enforcement agents, I believe that a “trailer bill” is legislation that clarifies and
addresses unresolved aspects of prior legislation.]| Later in the conversation,
Individual A discussed Individual A’s interest in the sweepstakes industry, and
ARROYO asked, “Do you have legislation?” Individual A answered, “Oh, yeah.”
ARROYO asked, “Why don’t you get it to [CW-1]?” Individual A answered, “I honestly
was under the opinion that [a lobbyist] gave it to you.... I'll make sure you get it.”
ARROYO said that sweepstakes gaming was legal, adding, “I worked with [Individual
A], ah, as consultant. I cannot work as a legislator with somebody if it’s illegal. I just
can't. He knows that. I cannot be part something that’s illegal. That’s just like being
part of the mob or being part of a gang that’s selling drugs. I can’t be part of that.
I’m not going to taint my reputation for something that’s illegal. Now, if he ever goes
to court or anybody goes to court and they say the sweepstakes is illegal, I can't, I
can’t have no part of it.... Nobody has said it’s illegal, so that’s why I keep pushing,
and I’m pushing forward to try to get something in the veto session, to try to get a
shell bill. Hopefully [Individual A] can get you the bill. I would like for you to carry

the bill. ... I don’t have nobody in the Senate.” [Based on my training and
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experience, and discussions with fellow law enforcement agents and witnesses, I
believe that ARROYO was asking CW-1 to sponsor and support the sweepstakes
legislation in the Illinois Senate.] Thereafter, Individual A described state legislation
he wanted CW-1 to support, and ARROYO asked, “[C]an we get you the language,
and then you could consider. . .”. CW-1 interjected, “Get me the language.” ARROYO
said, “I’m gonna get you the language, and we'll have a conversation again to see if it
fits your needs to be able to try [unintelligible]. When a veto session? comes up, we'll
start working on it. Ifit doesn’t get passed during the veto session, we could probably
push it.” CW-1 added, “See what happens after,” and ARROYO responded, “Yeah.”
16. Thereafter, CW-1 asked to speak with ARROYO alone. The two went
outside the restaurant, where they were observed by law enforcement conducting
physical surveillance. CW-1 said, “This is you and I talkin’ now .... Nobody else.”
ARROYO said, “Whatever you tell me, [CW-1], stays between you and me....
[T]hat’s my word.” CW-1 asked, “What's in it for me, though?” ARROYO said, “I’m a
paid consultant, okay? .... If you put a price on it, I mean, if you want to get paid,
you want somebody else to get a check monthly, a monthly stipend, we could put them
on contract. We could put you on a contract. You tell me what it is. Tell me what
you need.” [Based on my training and experience, and discussions with fellow law

enforcement agents and witnesses, I believe that ARROYO was asking how much

 

3 Based on my training and experience, and discussions with fellow law enforcement
agents and witnesses, I believe that a veto session is a period in which the Illinois
legislature convenes to consider bills that the Governor has previously vetoed. Based
on publicly available information, I believe the Illinois legislature will next convene
for a veto session on or about October 28, 2019.
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CW-1 wanted to be paid in return for supporting the sweepstakes legislation.] CW-1
said, “I’m lookin’ for something, you know? I’m in the twilight, you know.” ARROYO
said, “I understand very well.... I understand. If I’m doin’ okay, youre gonna do
okay. We'll just, me and you will start meeting from now on. Let me give you the
legislation. We'll be more open, and we'll talk to each other to make sure that you're
rewarded for what you do, for what we’re gonna do moving forward. Same way I’m
getting paid, I’m getting paid 25, 2500 dollars a month.4 And I’m lookin’ to get a little
bump from that because I’ve been really working my ass off.” CW-1 said, “That'd be
nice.” ARROYO continued, “So that would be guarantee from me to you. Okay?” CW-
1 answered, “Alright.” ARROYO responded, “Thank you, buddy.” CW-1 said, “That’s
all I wanted to talk, that stays between you and I.” ARROYO said, “[L]et’s be clear,
right? And we're clear.... My word is my bond and my, my reputation.”

17. On or about August 15, 2019, at approximately 12:43 p.m., CW-1 sent
an electronic message on CW-1 Phone to Target Phone 1, used by ARROYO. The
message said, “Hay Lou I haven’t receive your draft legislation yet! Why don’t you
email it to me? We can get together sometime next week!” ARROYO sent a reply

electronic message from Target Phone 1 that said, “Coming soon.”

 

4 I believe ARROYO explained to CW-1 that ARROYO was already receiving payments
from Individual A of $2,500 a month in return for his legislative support, and that
CW-1 could also receive money in return for his support with sweepstakes legislation.
Law enforcement has obtained checks from Company A made payable to the order of
Spartacus for the following amounts dated on the following dates: $2,500 on or about
November 1, 2018 (two checks); $2,500 on or about January 3, 2019 (two checks):
$2,500 on or about February 1, 2019; $62,500 on or about March 5, 2019; $2,500 on or
about April 5, 2019; $7,500 on or about May 3, 2019; and $2,500 on or about August
1, 2019.
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18. On or about August 19, 2019, at approximately 3:28 p.m., ARROYO,
using Target Phone 1, spoke with CW-1. During the call, ARROYO discussed how
an initial unlawful payment would be made to CW-1. Specifically, ARROYO said,
“TWle got all the stuff ready for you. We wanted ... to see if you had time to, uh, if
we could get together this week.... [W]e want to straighten that up. Then the, uh,
where do you want to send the other stuff [payment] to? Uh, do you want to put it
under somebody else’s name or your stuff, your name?” [Based on my training and
experience, and discussions with fellow law enforcement agents and witnesses, I
believe that ARROYO was asking if CW-1 wanted to transmit the illicit payment
through a third-party in order to conceal CW-1’s receipt of the payment.] CW-1
answered, “Alright, let me, let me think about that, too.” ARROYO and CW-1 then
agreed to meet on August 22, 2019.

C. ARROYO Makes an Initial Payment of $2,500 to CW-1 in Return
for CW-1’s Support of Sweepstakes Legislation.

19. On or about August 21, 2019, at approximately 3:28 p.m., ARROYO,
using Target Phone 1, spoke with CW-1. During the call, CW-1 and ARROYO
discussed meeting the following day. Specifically, ARROYO asked, “[W]e ready for
tomorrow? 11 o'clock?” CW-1 answered, “Yeah.” Moments later, CW1 asked,
“TW]ho’s all comin’?” ARROYO answered, “Just me and [Individual A].” CW-1 said,
“T like this to stay between you and I. A lot of this, you know what I mean?” ARROYO
responded, “Okay, you want me? You know what? [ll tell you what. Pll go by myself.”
Later CW-1 said, “[C]an you just email me a copy of what we want to talk about

tomorrow so I can look at it ahead of time so if I see anything glaring, ... I could say,
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‘Hey, man, this won't, this won't play’?” ARROYO replied, “I won't have time to email
it to you, unless he, he [Individual A] wants to email it to me. Let me see if he emails
it tome. Then I could just email it to you.”

20. Law enforcement provided CW-1 with the name and contact information
for someone to use as an undercover nominee to receive the initial payment ARROYO
had offered to CW-1.

21. Onor about August 22, 2019, at approximately 10:43 a.m., CW-1 hada
consensually-recorded meeting with ARROYO at a restaurant in Skokie, Illinois.
During the meeting, ARROYO provided CW-1 with a payment of $2,500 in the form
of a check. Specifically, ARROYO said, “I’m going to give you this here. This is, this
is, this is the jackpot. Give me the name [of CW-1’s nominee]. Just put the name
down here.” CW-1 provided the undercover nominee name CW-1 had previously been
given by law enforcement. According to CW-1, ARROYO wrote the name of the
undercover nominee provided to CW-1 by law enforcement on a check. ARROYO
said, “Ill put it on my phone.... To, to what company and what address?” CW-1
answered, “No, she’s [the undercover nominee] just a friend, and I think, you know,
I'll run it [this and future payments] through her.... Pll give you my home address.
You can mail anything there.” ARROYO responded, “No, no, we’re not going to mail
anything. We're just going to write a check. We’re going to write you a check per
month.... Six months to a year. What do you prefer?” CW-1 answered, “Whatever.

A year sounds great.” ARROYO continued, “Okay, so just read it [proposed

 

5 On the check, ARROYO misspelled the name of CW-1’s nominee by one letter.

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sweepstakes-related legislation], and see if there can’t be any [unintelligible].” CW-
1 said, “If I gotta make, if we got to make changes, it’s a lot easier to make it off the
email.” ARROYO replied, “I'll send it to you, but I don’t have your email address Le.
. You can change this, and I’m going to give it to your email right now. When I get
to the car, ’m gonna email it to you.” CW-1 said, “I’m not a computer expert. I'll tell
you that.” ARROYO responded, “N either amI.... That's why I wanted to come and
show it to you and go over it.” CW-1 said, “I’m not too happy about doing this, but
I’m doin’ it for ya.” ARROYO replied, “I know you're not.” Later ARROYO said, “I’m
going to send you this, and you can see what, this is not concrete.”

22. Immediately after the meeting with ARROYO concluded, CW-1 provided
law enforcement with proposed sweepstakes-related legislation, a Company A check,
dated August 22, 2019, made payable to the undercover nominee in the amount of
$2,500, and Individual A’s business card bearing Individual A’s name and the address
for Individual A’s email account, all of which—according to CW-1—ARROYO had
given to CW-1 during the meeting.

23.  Onor about August 22, 2019, at approximately 2:02 p.m., CW-1 received
an email from Individual A’s email account (as reflected on the business card for
Individual A that ARROYO provided to CW-1 earlier that day). Attached to the email
was a document that provided, in part:

[L]egislation is needed to address the regulation and taxing
of electronic sweepstakes.

The proposed bill amends the Use Tax Act, the Service Use
Tax Act, the Service Occupation Tax Act, and the Retailers’
Occupation Tax Act to provide that product promotion

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sweepstakes vouchers are considered tangible personal
property under those Acts and thus subject to sales tax at
the point of sale. The bill further provides that the
Department of Revenue shall share the revenue derived
from the annual registration fees with municipalities.
Subject to certain enumerated exceptions for licensed
fraternal and/or veterans’ establishments, the bill also
limits the number of electronic product promotion
sweepstakes kiosks at any one location and clarifies
provisions in the Prizes and Gifts Act and Criminal Code
of 2012 to ensure uniform treatment of all sweepstakes
promotions.

24. Onor about August 26, 2019, at 5:22 p.m., CW-1 received an email from
Individual A’s email account. The email, which had a subject line of “Sweepstakes
Thank you,” said, “I appreciate your help and assistance. | know there are several
challenges in front of me with sweepstakes. Please let me know if there is anyone else
you would recommend I meet with and share information. Respectfully, [Individual
Al.”

IV. Conclusion

25. Based on the foregoing, there is probable cause to believe that LUIS
ARROYO has committed the Subject Offense.

FURTHER AFFIANT SAYETH NOT.

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CURTIS A. HEIDE

Special Agent
Federal Bureau of Investigation

 

SUBSCRIBED AND SWORN to

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MARIA VALDEZ
United States Magistrate Judge

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